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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                     Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                    Defendant.


  GOVERNMENT’S NOTICE REGARDING REPORT OF THE SPECIAL COUNSEL

       The United States of America submits this notice to the Court regarding the steps taken by

the Justice Department to comply with Local Criminal Rule 57.7 and this Court’s orders regarding

extrajudicial statements in light of the public release of a redacted version of the Special Counsel’s

report to the Attorney General.

       Local Criminal Rule 57.7(b)(1) states that it is the duty of a lawyer or law firm “not to

release or authorize the release of information or opinion which a reasonable person would expect

to be disseminated by means of public communication, in connection with pending or imminent

criminal litigation with which the lawyer or the law firm is associated, if there is a reasonable

likelihood that such dissemination will interfere with a fair trial or otherwise prejudice the due

administration of justice.” In addition, Rule 57.7 authorizes the Court “[i]n a widely publicized or

sensational criminal case” to “issue a special order governing such matters as extrajudicial

statements by parties, witnesses and attorneys likely to interfere with the rights of the accused to a

fair trial by an impartial jury.” Pursuant to that authority, on February 15, 2019, this Court entered

an order stating that “[c]ounsel for the parties and the witnesses must refrain from making

statements to the media or in public settings that pose a substantial likelihood of material prejudice

to this case.” Dkt. No. 36, at 3.
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       On March 22, 2019, the Special Counsel delivered his confidential report to the Attorney

General pursuant to 28 C.F.R. § 600.08. Since that time, the Justice Department has been preparing

the report for release, making the redactions that are required. The redactions to the Special

Counsel’s report include redactions made in consideration of Local Rule 57.7(c) and the Court’s

order so that the public release of the Special Counsel’s report as redacted does not pose either a

“substantial likelihood of material prejudice to this case,” Dkt. No. 36, at 3, or a “reasonable

likelihood” of “interfer[ing] with a fair trial or otherwise prejudic[ing] the due administration of

justice,” Local Crim. R. 57.7(b)(1). On April 15, 2019, the Department announced that it

anticipates release of the report on April 18, 2019.

       Once the redacted version of the report has been released to the public, the Justice

Department plans to make available for review by a limited number of Members of Congress and

their staff a copy of the Special Counsel’s report without certain redactions, including removing

the redaction of information related to the charges set forth in the indictment in this case. This

version of the report will not be made available “to the media” or “in public settings,” consistent

with the Court’s February 15 order. In addition, this version of the report will not be “disseminated

by means of public communication” pursuant to Local Criminal Rule 57.7(b)(1). Nor will copies

of the less redacted report be disseminated to Members of Congress or their staff in the first

instance. Rather, the Justice Department intends to secure this version of the report in an

appropriate setting that will be accessible to a limited number of Members of Congress and their

staff. If those Members of Congress ask to be provided with copies of this version of the Special

Counsel’s report, or portions of it, such that there exists a reasonable likelihood that the

information related to the charges set forth in the indictment in this case may be available to the




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media, or accessible in a public setting, or “disseminated by means of public communication,” the

Justice Department will seek guidance from the Court prior to acting on that request.


                                     Respectfully submitted,

                                     JESSIE K. LIU
                                     U.S. Attorney for the District of Columbia

                                     By:    /s/
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Dated: April 17, 2019




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